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                                                                                  FILED
                                                                          U.S. DISTRICT COURT
                                                                               AUGIJSIA DIV.
                     IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGJI

                                  AUGUSTA DIVISION                     CLERK

      HATCHER,

               Petitioner,

        V.                                        CV 111-190
                                                  (Formerly CR 110-251)
UNITED STATES OF AMERICA,

               Respondent.


         MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION


       Petitioner, an inmate confined to federal custody at F.C.I. Edgefield in Edgefield,

South Carolina, filed with this Court a "Motion for Re-Sentence Instanter." (Doc. no. 1.)

In an Order issued on December 1, 2011, the Court noted that the filing attacked the validity

of Petitioner's federal sentence such that it might be recharacterized as a motion under 28

U.S.C. § 2255 to vacate, set aside, or correct his sentence. (Doc. no. 2.) Consistent with the

requirements of Castro v. United States, 540 U.S. 375, 377 (2003), the Court informed

Petitioner of its intent to recharacterize his filing as a § 2255 motion, warned him that the

recharacterization would subject subsequent § 2255 motions to the law's "second or

successive" restrictions, and provided him with an opportunity to contest the

recharacterization, to withdraw the filing, or to amend the filing by asserting any additional

claims. (See j4.) In his response to the December 1st Order, Petitioner clarified that he
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wanted the Court to construe his previous filing as a § 2255 motion) (Doc. no. 3.)

Therefore, having satisfied the Castro requirements, it is proper to construe Petitioner's

initial filing as a § 2255 motion. Accordingly, the Court will proceed to conduct an initial

review of Petitioner's motion as required by Rule 4 of the Rules Governing Section 2255

Proceedings for the United States District Courts. For the reasons set forth below, the Court

REPORTS and RECOMMENDS that the § 2255 motion be DISMISSED and that this

civil action be CLOSED.

I. BACKGROUND

        A federal grand jury indicted Petitioner for conspiring to distribute and to possess

with intent to distribute various controlled substances, in violation of 21 U.S.C. § 841(a)

& 846, and possessing with intent to distribute 8.28 grams of cocaine base, in violation of

21 U.S.C. § 841(a). See United States v. Hatcher, CR 110-251, doc. no.4 (S.D. Ga. Sept.

15, 2010) (hereinafter "CR 110-251 Petitioner pled not guilty to the charges against him,

and a jury found him not guilty on the conspiracy charge; as to the possession charge, the

jury found Petitioner guilty of the lesser included offense of possessing cocaine base


     'While Petitioner unequivocally expressed that he wanted the Court to construe his
previous filing as a § 2255 motion, he also stated, "as pertaining to this letter [i.e., his
response to the Court's December 1, 2011 Order] Petitioner is also asking for relief [under
18 U.S.C. § 35821." (Doe. no. 3.) However, because the Court's analysis in the instant
Order is controlled by the procedural rules applicable to § 2255 motions, the Court will not
address separate sentencing claims in Petitioner's criminal case as part of these § 2255
proceedings. Therefore, Petitioner may re-urge any sentencing challenge not arising under
§ 2255 by separate motion in his criminal case, including a motion under 18 U.S.C. § 3582.
The Court encourages Petitioner to consider its analysis of his claims in the instant motion
prior to filing any additional motions.

  2A11 told, the indictment set forth 56 counts against a total of 23 Defendants. See CR 110-
251, doc. no. 4.
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weighing less than five grams. j, doe. nos. 639, 739. On September 8, 2011, the

Honorable J. Randal Hall, United States District Judge, sentenced Petitioner to a 10-month

term of imprisonment, as well as one year of supervised release and a $2500.00 fine. Id,

doe. no. 739. Petitioner did not file a direct appeal.

       The instant motion was filed on November 18, 2011. Therein, Petitioner argues that

his sentence is improper because it does not comport with the Fair Sentencing Act of 2010

("FSA"), Pub. L. No. 111-220, 124 Stat. 2372, and because it included an improper § 851

enhancement based on a prior offense. (Doc. no. 1.)

II.    DISCUSSION

       Rule 4 of the Rules Governing Section 2255 Proceedings provides that a § 2255

motion must be dismissed "[i]f it plainly appears from the motion, any attached exhibits, and

the record of prior proceedings that the moving party is not entitled to relief." Here,

dismissal is warranted under the Rule 4 standard.

       Initially, Petitioner's claims are procedurally defaulted. "Under the procedural

default rule, 'a defendant generally must advance an available challenge to a criminal

conviction or sentence on direct appeal or else the defendant is barred from presenting that

claim in a § 2255 proceeding." McKay v. United States, 657 F.3d 1190, 1196 (11th Cir.

2011) (quoting Lynn v. United States, 365 F.3d 1225 (11th Cir. 2004)); see also United

States v. Montano, 398 F.3d 1276, 1279-80 (11th Cir. 2005) (per curiarn) ("Generally, if a

challenge to a conviction or sentence is not made on direct appeal, it will be procedurally

barred in a § 2255 challenge."). "A ground of error is usually 'available' on direct appeal




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when its merits can be reviewed without further factual development." Mills v. United

States, 36F.3d 1052, 1055 (llthCir. 1994).

        In other words, Petitioner may not use this collateral attack as "a surrogate for a direct

appeal." Lynn, 365 F.3d at 1232 (11th Cir. 2004). A procedural bar or default cannot be

overcome unless the § 2255 movant "can demonstrate a cause for this default and show

actual prejudice suffered as a result of the alleged error." Montano, 398 F.3d at 1280. "In

the alternative, a defendant can also overcome the procedural bar created by the failure to

appeal if he could [sic] show a fundamental miscarriage ofjustice; 'in an extraordinary case,

where a constitutional violation has probably resulted in the conviction of one who is actually

innocent, a federal habeas court may grant the writ even in the absence of a showing of cause

for the procedural default." I. (quoting Murra y v. Carrier, 477 U.S. 478, 496 (1986)).

        Here, Petitioner failed to challenge his conviction or sentence on direct appeal. Both

of Petitioner's claims were "available" for direct appeal under the applicable standard

because their merits could be reviewed at that time without further factual development.'

See Mills, 36 F.3d at 1055. Furthermore, Petitioner has not provided any explanation to

overcome the procedural bar, and the actual innocence exception is inapplicable to claims,

such as Petitioner's, that raise legal challenges based on alleged errors at sentencing.

McKay, 657 F.3d at 1200; Goodloe v. United States, 2011 U.S. App. LEXIS 24739, 3-4

(11th Cir. Dec. 13, 2011) (per cur/am) ("[T]he actual innocence exception requires factual


    'Notably, the FSA - which is the basis for Petitioner's first claim —went into effect well
before Petitioner was sentenced. See United States v. Gomes, 621 F.3d 1343, 1346 (11th
Cir. 2010) (per cur/am) (noting that the FSA was signed into law on August 3,2010). There
is likewise nothing to suggest that his second claim regarding the purported enhancement of
his sentence based on a prior offense required any further factual development.

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innocence, not mere legal innocence, and enhanced sentencing is a matter of legal, not

factual, innocence."). Because Petitioner's claims are procedurally defaulted, the instant

motion should be dismissed.

        Moreover, the instant motion would be subject to dismissal for lack of merit even if

his claims were not procedurally defaulted. As noted previously, his first claim concerns the

FSA, which amended the portions of § 841(b) providing penalties for possession of cocaine

base by increasing the amounts necessary for the imposition of the mandatory minimum

terms of imprisonment. See Pub. L. No. 111-220, § 2(a)(1) - (2); Gomes, 621 F.3d at 1346.

Because Petitioner was found guilty of possessing cocaine base weighing less than five

grams, the amount was not sufficient to trigger any mandatory minimum term of

incarceration, 21 U.S.C. § 841(b)(1)(A) - (B). Consistent with his conviction and the

provisions of § 841(b) - including those modified by the FSA - Petitioner was sentenced to

a 10-month term of imprisonment, whereas the lowest of the § 841(b) mandatory minimums

based on substance quantity is five years. 4       jj § 841(b)(1)(B).
       In Petitioner's second claim, he asserts that his sentence included an improper § 851

enhancement based on a prior offense. (Doc. no. 1, p. 1.) However, the record shows that

Petitioner's sentence did not include such an enhancement. The government notified

Petitioner of its intent to seek an enhancement based on the charges against him in the

indictment, in combination with his prior drug Conviction in the Superior Court of Hancock


   4Under the pre-FSA version of § 841(b), the amount of cocaine base needed to trigger the
five-year mandatory minimum was five grams. See Pub, L. No. 111-220, § 2(a)(2). Because
Petitioner was convicted of possessing cocaine base weighing less than five grams, be would
not have been subjected to any mandatory minimum term of imprisonment even if he had
been sentenced prior to the FSA taking effect.

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County, Georgia. See CR 110-251, doe. no, 577. However, because Petitioner was only

found guilty of possessing cocaine base weighing less than five grams - a lesser included

offense of one of the charges in the indictment - he was not subject to an enhanced sentence

based on his prior offense. If he had been, instead of a 10-month term of imprisonment, he

would have received a mandatory minimum term of at least 10 years. See 21 U.S.C.

§ 841(b)(1)(B). Moreover, the case that Petitioner cites in support of his second claim,

United States v. Shannon, is totally inapposite, as it addressed the issue of whether a prior

conviction under Florida law constituted a "controlled substance offense" for purposes of

the career offender sentencing enhancement, See 631 F.3d 1187,1188-90 (11th Cir. 2011).

       In sum, Petitioner's claims are procedurally defaulted and lack merit. Accordingly,

the instant motion, which has been recharacterized as a § 2255 motion in accordance with

the requirements of Castro, should be dismissed.

Ill. CONCLUSION

       Based on an initial review of the instant motion, as required by Rule 4 of the Rules

Governing § 2255 Cases, the Court concludes that Petitioner is not entitled to relief. The

Court therefore REPORTS and RECOMMENDS that the instant motion be DISMISSED

and that this civil action be CLOSED.

       SO REPORTED and RECOMMENDED thiso444day of February, 2012, at Augusta,

Georgia.



                                              W. LEONE
                                              UNITED S ATEStISTRATE JUDGE
